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                      UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF NEW JERSEY
____________________________________
                                     :
UNITED STATES OF AMERICA             :
                                     :
      v.                             : CRIMINAL NO. 07-785 (JLL)
                                     :
AKOUAVI KPADE AFOLABI, et al.        : ORDER
                                     :
                  Defendant.         :
____________________________________:

LINARES, District Judge.

        The Court having held a telephone status conference today; and the parties having been

apprised of the following dates; and for good cause shown;

        IT IS on this 15th day of July, 2009,

        ORDERED that a suppression hearing regarding Koevi’s motion to suppress will take

place on July 20, 2009, at 10 AM; and it is further

        ORDERED that jury selection for the case against Kouevi will begin on July 22, 2009;

and it is further

        ORDERED that jury selection for the case against Afolabi and Kpade will begin on

August 28, 2009; and it is further

        ORDERED that the Afolabi’s and Kpade’s trial will begin on September 14, 2009.

        IT IS SO ORDERED.

                                                              /s/ Jose L. Linares
                                                              United States District Judge




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